Case 3:20-cr-00781-MAS Document 28 Filed 09/15/20 Page 1 of 7 PageID: 95




                                          U.S. Department of Justice

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                                          June 10, 2020

Thomas A. Durkin, Esq.
Durkin & Roberts
2446 North Clark Street
Chicago, IL 60614

           Re: Plea Agreement with Jonathan L. Xie
                 Criminal 20-781-01 (MAS)
Dear Mr. Durkin:
              This letter sets forth the plea agreement between your client,
Jonathan L. Xie, and the United States Attorney for the District of New Jersey
("this Office"). The government's offer to enter into this plea agreement will
expire on June 24, 2020 if it is not accepted in writing by that date.

Charges

              Conditioned on the understandings specified below, this Office will
accept a guilty plea from Jonathan L. Xie to a one-count Information that
charges that Jonathan L. Xie knowingly concealed and disguised the nature,
location, source, ownership and control of the attempted provision of material
support and resources to a designated foreign terrorist organization, namely
Harakat al-Muqawamah al-lslamiyya and the Islamic Resistance Movement
(HAMAS), contrary to Title 18, United States Code, Section 2339B(a)(l), in
violation of Title 18, United States Code, Sections 2339C(c)(2)(A}, 2339C(d)(2),
and 2. If Jonathan L. Xie enters a guilty plea and is sentenced on these
charges, and otherwise fully complies with all of the terms of this agreement,
this Office will not initiate any further criminal charges against Jonathan L. Xie
for knowingly concealing the financing of terrorism or for any of the acts set
forth in the Criminal Complaint, Mag. No. 19-3676, from in or about December
2018 to in or about April 20i�owever, in the event that a guilty plea in this
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matter is not entered for any reason or the judgment of conviction entered as a ;;r         X
 result of this guilty plea does not remain in full force and effect, Jonathan L.
Xie agrees that any dismissed charges and any other charges that are not time-
 barred by the applicable statute of limitations on the date this agreement is
Case 3:20-cr-00781-MAS Document 28 Filed 09/15/20 Page 2 of 7 PageID: 96
Case 3:20-cr-00781-MAS Document 28 Filed 09/15/20 Page 3 of 7 PageID: 97
Case 3:20-cr-00781-MAS Document 28 Filed 09/15/20 Page 4 of 7 PageID: 98
Case 3:20-cr-00781-MAS Document 28 Filed 09/15/20 Page 5 of 7 PageID: 99
Case 3:20-cr-00781-MAS Document 28 Filed 09/15/20 Page 6 of 7 PageID: 100
Case 3:20-cr-00781-MAS Document 28 Filed 09/15/20 Page 7 of 7 PageID: 101
